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1                                                              The Honorable Richard A. Jones
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7                          UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
8
                                       AT SEATTLE
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10
      UNITED STATES OF AMERICA,
11                                                      NO. CR11-0070RAJ
                            Plaintiff,
12
                      v.                                GOVERNMENT’S AMENDED
13                                                      EXHIBIT LIST FOR EVIDENTIARY
14                                                      HEARING ON DEFENDANT’S
      ROMAN V. SELEZNEV,
                                                        MOTION TO SUPPRESS
15
                            Defendant.
16
17
            The United States of America, by Annette L. Hayes, United States Attorney for
18
     the Western District of Washington, and Norman M. Barbosa and Seth Wilkinson,
19
     Assistant United States Attorneys for said District, and Harold Chun, Trial Attorney,
20
     Computer Crimes and Intellectual Property Section, hereby submits the following list of
21
     exhibits it intends to introduce at the hearing on defendant’s motion to suppress:
22
            1.     Sony Vaio Laptop Computer
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            2.     Main Vault Evidence Log
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            3.     ECTF Evidence Vault Log
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            4.     Chain of Custody Log
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            5.     Photograph of Sample Splash Screen
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            6.     Photographs of Sony Vaio Laptop Computer and Solid State Drive
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            7.     E-mail dated July 30, 2014

     GOVERNMENT’S AMENDED EXHIBIT LIST FOR HEARING ON                      UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     DEFENDANT’S MOTION TO SUPPRESS/CR11-0070RAJ
                                                                            SEATTLE, WASHINGTON 98101
     Seleznev - Page 1                                                            (206) 553-7970
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1          8.    E-mail dated January 15, 2015
2          9.    Agent David Mills - FTK Imaging Notes
3          10.   Agent David Mills – Examination Notes
4          11.   Declaration of Ovie Carroll
5          12.   CSEnabled Registry Key – Carroll Attachment 6
6          13.   Microsoft Windows DHCP Client Admin Event Log – Carroll
7                Attachment 4
8          14.   Microsoft Windows Network Profile Operational Event Log – Carroll
9                Attachment 2
10         15.   Microsoft Windows WLAN AutoConfig Operational Event Log – Carroll
11               Attachment 3
12         16.   Network Registry Key – Carroll Attachment 1
13         17.   Security Event Log – Carroll Attachment 7
14         18.   System Resource Usage Monitor Report – Carroll Attachment 8
15         19.   User Profile Information
16         20.   User Profile
17         21.   USN Journal Post Logoff – Carroll Attachment 9
18         22.   Windows Update Log – Carroll Attachment 5
19         23.   Agent David Mills – Report of Examination
20         24.   Agent David Mills – Supplemental Report of Examination
21         25.   Windows System Event Log ID 6006 – Carroll Attachment 11
22         26.   LastShutDown – Carroll Attachment 12
23         27.   Report of Ovie Carroll, Director, Department of Justice Cybercrime
24               Laboratory
25         28.   Airline Tickets for Monday July 7, 2014 – David Iacovetti
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27
28

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 1         DATED this 1st day of June, 2016.
 2 Respectfully submitted,
 3
     ANNETTE L. HAYES
 4
     United States Attorney
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 6
   LESLIE R. CALDWELL
 7 Assistant Attorney General
 8
 9 s/ Norman M. Barbosa
   NORMAN M. BARBOSA
10
11 s/ Seth Wilkinson                           s/ Harold Chun
12 SETH WILKINSON                              HAROLD CHUN
                                               Trial Attorney
13 Assistant United States Attorneys           Computer Crime and Intellectual
   700 Stewart Street, Suite 5220              Property Section
14
   Seattle, Washington 98101-1271              1301 New York Avenue, NW
15 Email: Norman.Barbosa@usdoj.gov             Washington, D.C. 20530
   Email: Seth.Wilkinson@usdoj.gov             Email: Harold.Chun@usdoj.gov
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            Case 2:11-cr-00070-RAJ Document 345 Filed 06/01/16 Page 4 of 4




1                                 CERTIFICATE OF SERVICE
2          I hereby certify that on June 1, 2016, I electronically filed the foregoing with the
3 Clerk of Court using the CM/ECF system which will send notification of such filing to
4 the attorneys of record for the defendant.
5
6                                                     s/ Jacqueline Masonic
                                                      JACQUELINE MASONIC
7
                                                      Supervisory Legal Admin Specialist
8                                                     United States Attorney’s Office
                                                      700 Stewart Street, Suite 5220
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                                                      Seattle, Washington 98101-1271
10                                                    Telephone: 206-553-7970
                                                      Fax: 206-553-0755
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                                                      Email: Jackie.Masonic@usdoj.gov
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